                                        Case 23-10852-KBO                Doc 16-3        Filed 06/29/23         Page 1 of 4




                                                                           EXHIBIT C1

                                                                      Utility Providers List

                                                                                                                                                     Proposed
                                                                                                                               Monthly
     Utility Provider              Account Number                     Type of Service                Debtor Entity                                   Adequate
                                                                                                                               Average2
                                                                                                                                                     Assurance
        OPTIMUM                     07704-105157-02-0                     INTERNET                      CB & JWH                   $258                   $129


     AT&T MOBILITY                      318428875                     INTERNET/PHONE                    CB & JWH                  $2,940                 $1,470


    DOMINION ENERGY                                                                                     CB & JWH;
                                    0-1800-1734-9828                          GAS                                                  $109                   $55
         OHIO                                                                                            SHOPHQ

       AMERICAN                                                                                         CB & JWH;
                                     073-454-430-8-4                      ELECTRIC                                                 $676                   $338
    ELECTRIC POWER                                                                                       SHOPHQ
                               8772-1051-4101-2985; 8993-                                              CB & JWH;
        COMCAST                                                           INTERNET                                               $12,012                 $6,006
                               20-759-0763044; 939801993                                              ERVINE LIVE
                               6402776997-1; 11568452-4;
      CENTERPOINT                                                                                       CB & JWH;
                                 7292924-3; 5533345-4;                        GAS                                                 $6,232                 $3,116
        ENERGY                                                                                           SHOPHQ
                                     8000016564-9
                                 856542-261504; 856542-                                                 CB & JWH;
    CONNEXUS ENERGY                                                       ELECTRIC                                                $1,095                  $548
                                         261505                                                          SHOPHQ

    BP ENVIROMENTAL
                                            N/A                           GARBAGE                       CB & JWH                  $1,412                  $706
       SERVICES INC


1
     The inclusion of any entity on, or the omission of any entity from, this Utility Providers List is not an admission by the Debtors that such entity is, or is not, a
     utility within the meaning of section 366 of the Bankruptcy Code, and the Debtors reserve all rights with respect to any such determination. Additionally,
     although Exhibit C is intended to be comprehensive, the Debtors may have inadvertently omitted one or more Utility Providers. By this motion, the Debtors
     request relief applicable to all Utility Providers, regardless of whether such Utility Provider is specifically identified on Exhibit C.
2
     Note that the average monthly amount reflects amounts paid to a Utility Provider in aggregate and does not reflect amounts paid under each account associated
     with such Utility Provider.
                          Case 23-10852-KBO    Doc 16-3      Filed 06/29/23   Page 2 of 4




                                                                                                      Proposed
                                                                                        Monthly
 Utility Provider     Account Number          Type of Service        Debtor Entity                    Adequate
                                                                                        Average2
                                                                                                      Assurance

     NIPSCO               9555880018               GAS                  CB & JWH             $117        $59


INDIANA MICHIGAN                                                       CB & JWH;
                        042-518-712-5-9         ELECTRIC                                     $843       $421
     POWER                                                              SHOPHQ

                                                                       CB & JWH;
WEST PENN POWER          100147759748           ELECTRIC                                     $833       $416
                                                                        SHOPHQ

 WESTMORELAND
                           10624407               WATER                 CB & JWH             $72         $36
    COUNTY
      COX
                      0011001083888802;
COMMUNICATIONS                                  INTERNET                CB & JWH             $212       $106
                       17210052398301
DBA COX BUSINESS
  BLACK HILLS
                         7766 0251 66              GAS                  CB & JWH             $209       $104
    ENERGY


     EVERGY               0540809566            ELECTRIC                CB & JWH             $496       $248


 METROPOLITAN
                        110-000-584-600            GAS                  CB & JWH             $544       $272
UTILITIES DISTRICT

  OMAHA PUBLIC
                         245-689-2703           ELECTRIC                CB & JWH             $143        $71
 POWER DISTRICT

                     8384930020104037 MC-
   MEDIACOM                                     INTERNET                CB & JWH            $72,296    $36,148
                            560581

  MIDAMERICAN
                         25640-91108          GAS/ELECTRIC              CB & JWH            $2,631      $1,315
ENERGY COMPANY




                                                         2
                           Case 23-10852-KBO       Doc 16-3    Filed 06/29/23   Page 3 of 4




                                                                                                         Proposed
                                                                                          Monthly
 Utility Provider     Account Number              Type of Service      Debtor Entity                     Adequate
                                                                                          Average2
                                                                                                         Assurance
                     51-0012552844-4; 51-
  XCEL ENERGY                                       ELECTRIC              CB & JWH            $39,723     $19,862
                    6438029-6; XX-XXXXXXX-1

                        942407419-00001;                              IMEDIA BRANDS,
    VERIZON                                         INTERNET                                   $2,076      $1,038
                        942407419-00002                                    INC
                                                                       VALUEVISION
  COLOGIX INC               332104             TELECOMMUNICATIONS     MEDIA, INC. DBA          $698        $349
                                                                         SHOPHQ
                                                                      IMEDIA BRANDS,
                                                                         INC DBA
RING CENTRAL INC          62937831028                 PHONE                                   $10,431      $5,215
                                                                      CHRISTOPHER &
                                                                          BANKS
                        5-DYCFL5BX-A;
                        612E068630498;
                        612E082298742;
                        612E084576812;
                        612E092634755;
    LUMEN-          612E150060030; 79360570-   TELECOMMUNICATIONS/     IMEDIA BRANDS
                                                                                              $52,688     $26,344
  CENTURYLINK        LATIS; 85405577-LATIS;           PHONE           INC DBA SHOPHQ
                         9528260022331;
                         9528294099027;
                         9528299371188;
                         9529418016516;
                         9529418923354
                                                                      IMEDIA BRANDS,
  US INTERNET               189414                  INTERNET                                  $109,995    $54,997
                                                                           INC

                    4009967402; 4045505324;
ATMOS ENERGY INC                                    ELECTRIC              SHOPHQ               $4,957      $2,478
                          3005072805
 BOWLING GREEN
   MUNICIPAL                306434               ELECTRIC/WATER           SHOPHQ               $268        $134
   UTILITIES




                                                           3
                          Case 23-10852-KBO     Doc 16-3    Filed 06/29/23   Page 4 of 4




                                                                                                     Proposed
                                                                                       Monthly
 Utility Provider    Account Number           Type of Service       Debtor Entity                    Adequate
                                                                                       Average2
                                                                                                     Assurance
  CITY OF EDEN       13490119; 13470111;
                                                  WATER                SHOPHQ              $2,531      $1,265
     PRAIRIE              13400118


  JUNO ONE LLC           34774-66431             ELECTRIC              CB & JWH            $11,373     $5,687


                                                                      CB & JWH;
LIBERTY UTILITIES   501068-98-5;501068-98-5   ELECTRIC/WATER                               $1,464      $732
                                                                       SHOPHQ

WARREN CO WATER
                     82860; 82868; 185100         WATER                SHOPHQ              $1,366      $683
   DISTRICT

                    411000003; 411000002;
 WARREN RECC                                     ELECTRIC              SHOPHQ              $47,067    $23,533
                         411000001




                                                       4
